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 5
     Attorney for Defendant
 6   JOSE LUIS OROZCO MORENO
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,       ) NO. CR-S-07-0393 LKK
12                                   )
                    Plaintiff,       ) ORDER AFTER HEARING
13                                   )
          v.                         )
14                                   )
     JOSE LUIS OROZCO MORENO, et     )
15   al.,                            )
                                     )
16                  Defendants.      )
                                     )
17   _______________________________ )
18
19        This matter came before the Court for a Status Conference on
20   December 4, 2007, in the courtroom of the Honorable Lawrence K.
21   Karlton, Senior United States District Judge.        The government was
22   represented by its counsel, Assistant United States Attorney Michael
23   Beckwith, defendant JOSE LUIS OROZCO MORENO was present and in custody,
24   represented by his counsel, Assistant Federal Defender Matthew C.
25   Bockmon, defendant EDGAR ADRAIN MORENO was present and in custody,
26   represented by his counsel, Steven D. Bauer, and defendant JUAN AGUIRRE
27   PACHECO was present and in custody, represented by his counsel Dina Lee
28   Santos (by Steve Bauer).
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 1         A further Status Conference hearing was set for February 12, 2008,
 2   at 9:30 a.m. in Courtroom 4.
 3         Therefore, good cause appearing,
 4         IT IS ORDERED that a further status conference be set for
 5   February 12, 2008, at 9:30 a.m. in Courtroom 4.
 6         IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. §3161(h)(8)(B)
 7   (iv), the period from December 4, 2007, through and including
 8   February 12, 2008, is excluded from the time computations required by
 9   the Speedy Trial Act due to ongoing preparation of counsel.
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11   DATED: December 7, 2007
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     Order After Hearing                      2
